64 F.3d 675
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Francis J. WITTS, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 95-3603.
    United States Court of Appeals, Federal Circuit.
    Aug. 2, 1995.
    
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      68 M.S.P.R. 80.
    
    
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      PETITION REINSTATED.
    
    ORDER
    
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      Petitioner having paid the required filing fee, and having filed the required Statement Concerning Discrimination, it is
    
    
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      ORDERED that the order of dismissal and the mandate be, and the same hereby are, VACATED and RECALLED, and the petition for review is REINSTATED.
    
    
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      Petitioner's informal brief is due on or before August 23, 1995.
    
    